United States District Court

For the Northern District of California

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, No. CR 04-00044 SI
Plaintiff, SEALING ORDER PURSUAN
GENERAL ORDER 54
V.
Conte,
Defendant. /
The following documents in this action are placed under seal and shall not be opened
except by the United States Sentencing Commission for its eyes only and shall not be

transmitted or otherwise opened except by order of this court upon application.

 

Ww Presentence Report

O Plea Agreement

oO Statement of Reasons

g

(Other)
IT IS SO ORDERED. S \
L he

Dated: \B| Vy O\ SUSAN ILLSTON

UNITED STATES DISTRICT JUDGE

 
